Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 1 of 23

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
ROBERT K. HUDNALL, )
Plaintiff )
)
)
Vv ) Civil Action No. 3:22-cv-00036-CM
)
)
STATE OF TEXAS, ET. AL )
Defendants )

PLAINTIFF’S MOTION FOR JUDGMENT ON THE PLEADINGS
Comes now the Plaintiff in the above styled action and makes this Motion for Judgement
) on the Pleadings, showing this Court as follows:
1. Though this is normally a defense raised by Defendants, under the federal tules of civil
procedure (FRCP), a party (to include Plaintiff's) may move for judgment on the pleadings
if the moving party states facts sufficient to constitute a cause of action against the

defendant and the answer does not state facts sufficient to constitute a defense to the

 

complaint.

2. Plaintiff does hereby incorporate by reference the Original Petition filed in the above cited
; case as to these defendants as if fully restated herein.
3. This case revolves around the roof placed on Plaintiff's home by Smith and Ramirez
Restoration LLC (hereinafter Defendant roofers).
4. Jurisdictional Issues: As stated in the Original Complaint (page 3) this Court (or any court
of competent jurisdiction, has jurisdiction over all defendants under the provisions of the

American with Disabilities Act (ADA) and the Americans with Disabilities Act

 
Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 2 of 23

 

Amendment Act (ADAAA) as clarified by the United States Supreme Court in Tennessee

vy. Lane, 541 U.S. 509 (2004).

5. Answers of Defendants: None of the defendants have submitted anything to show that j

 

any of the documents supporting Plaintiff's allegations are incorrect, invalid or wrongfully
interpreted. Primarily they have raised basic defenses revolving around jurisdiction and
various types of immunity. These objections do not in fact constitute any type of defense,
as such, to Plaintiff's allegations. Additionally, everyone had been very careful to pretend
to ignore the decision in 2015DCV3677, which has never been legally attacked nor
appealed by anyone.

6. Under local ordinance, in order to hold themselves out as a roofing contractor, Defendant
roofers had to post a blanket construction bond and liability insurance (Original
Complaint Exhibit A). Under the contract between Plaintiff and his spouse and Defendant
Roofers (Original Complaint Exhibit B) the Defendant Roofers alleged that they had

posted the bond and had the proper liability insurance as conditions precedent to the

 

contract.

7. As alleged in the original complaint, Plaintiff did pay Defendant Roofers 125% of their
invoiced price.

_ However, the work performed was so substandard that the surety company that issued the
bond held by Defendant Roofers (Old Republic Surety Company) sued Plaintiff and
another customer of Defendant Roofers, in the County Court of Law #3, a court of

competent jurisdiction, in a suit styled as 2015DCV3677 asking to forfeit the bond, and

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also alleging that the inspection purported to have been conducted by Chris Wells, an

inspector for the City of El Paso’s Department of Planning and Inspection was a conducted

 

 
Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 3 of 23

from his desk and not a physical inspection as required by ordinance (Original Complaint
Exhibit E).

9. The County Court of Law #3 granted the remedy requested by Old Republic Surety
Company and allowed the bond to be forfeited under the terms of a final order.

10. Defendant Roofers were represented in this case by counsel who, the transcript shows,
argued long and hard that the remedy not be granted, but who never directly denied the
roof installed for Plaintiff failed to meet code, nor did he deny Old Republic’s assertion
that the inspection Defendant Roofers have relied on to claim the roof passed was not a
physical inspection. It should also be noted that the Defendant Roofers did not appeal the

decision of the County Court of Law #3 that the forfeiture of the bond be accepted by the

court. Therefore, the decision of the County Court of Law #3 regarding 2015DC3677
was and is a final decision.

11. Plaintiff would show that the forfeiture of the Defendant Roofer’s surety bond did breach

 

the contract between the parties as the surety bond was a condition precedent to the entering

into the contract. Therefore, the rendering of the final decision in 2015DCV3677 voided
the contract between the parties.

12. Rather than appeal the decision reached in 2015DCV3677, Defendant roofers ignored the
decision in question and, with new counsel, sued Plaintiff and his spouse in the 448"

District Court, in a case styled as 2015DCV1113 (Original Complaint Exhibit F) with

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Defendant Judge Sergio Enriquez as Judge. Again, Defendant Roofers claims were that

they properly installed a roof and were not paid what they wanted. NO mention was made

of the final decision reached in 2015DCV3677! in their failing of 2015DCV1113.

 

1 Since the issues in 201SDCCV1113 were decided in 2015DCV3677, under Texas law when they raised the same
issues Defendant roofers had no basis for their claim in 2015DCV1113 that the roof was installed as their claim was

 

 
Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 4 of 23

13. At this juncture Plaintiff's attorney was offered a judgeship appointment if he dropped the
case and he did. Plaintiff began to represent himself. As stated in the Original Complaint,
when Plaintiff tried to submit the decision in 2015DCV3677 as well as letters showing that
an actual physical inspection showed that the roof failed to meet code, Defendant Judge
Sergio Enriquez refused to even hear Plaintiff as he was “just one of those Pro Se Litigants
that wastes the court’s time. Stating he had no choice in the matter”, over Plaintiff's
objections, Defendant Judge Sergio Enriquez finally sent the action in 2015DCV1113 to
arbitration under the terms of the voided contract.

14. As cited in the Original Complaint (page 34), under Texas law, civil findings such as
reached in 2015DCV3677 that the roof in question failed to meet code preclude a later
administrative proceeding such as arbitration’. The refusal of Defendant Judge Sergio
Enriquez to apply res judicata and collateral estoppel to the earlier decision in
2015DCV3677 and the referral to arbitration by Defendant Judge Sergio Enriquez was a
very clear violation of Plaintiff's right to due process of law, equal protection of the law
and denied Plaintiff meaningful participation in the court proceedings. These are violations

of the ADA and the ADAAA.

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\ already decided in 2015DCV3677 that the roof failed to meet code. Therefore, if they had no proper legal grounds for
their claim, Defendant Judge Sergio Enriquez had no jurisdiction over the issue of the roof and could not legally send
the matter to arbitration. Texas law also states that res judicata bars a party from attempting to relitigate a claim or
cause of action that a competent tribunal has finally adjudicated (Valverde vy. Biela’s Glass & Aluminum Prods.,
293 S.W.3d 751, 755 (Tex. App-San Antonio 2009, pet Denied.)

2 The U.S. Supreme Court held in Forrester vy. White, 484 U.S. 219, 224-225 (1988) that judges can be held liable
for damages in suits where actions are administrative in nature are challenged (See page 4 of the Original Complaint).
3 Goldstein y. Comm’n for Lawyer Discipline 199 S.W.3d 810 (Tex. App — Dallas 2003) pet. Denied.) (Tex.
Alcoholic Beverage Comm’n v. Hadi Ali Yassine, Docket No. XXX-XX-XXXX. 2004 WL 4465939 (Tex. State Office
of Admin. Hearing Jan. 26, 2004)

 

 

 
 

Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 5 of 23

15. The Federal Courts have also taken the position that collateral estoppel applied to previous
court decisions that are attempted to be relitigated in an administrative setting on virtually

the same facts’.

16. As outlined above under both Texas State Law as well as decisions by the U.S. Supreme
Court, (see page 34 of the Original Complaint) the final decision in the case cited as
2015DCV3677, rendered by the County Court of Law #3, a court of competent jurisdiction
that the bond would be forfeited as the roof did not meet code, was sufficient to become
the basis for res judicata and collateral estoppel in regard to all other later actions, both
judicial as well as administrative.

17. It should be noted that the statement of the claim asked for by the arbitrator from the
attorneys for the Defendant Roofers was that the roof passed inspection and they did not
get paid what they wanted. This incorrect statement by a “real attorney” was accepted by
Defendant Guy Bluff and Defendant American Arbitration Association (hereinafter AAA)
over the presentations of the decision in 2015DCV3677 by “one of those pro se litigants”
in several motions for Summary Judgement made by Plaintiff to Defendant Guy Bluff. It
should also be noted that any testimony by Defendant roofers that the roof was successfully
installed in a “secret” arbitration hearing, that Plaintiff could not attend due to surgical
complications, was in fact perjury as the Court in 2015DCV3677 was very clear that the
roof did not meet code.

18. It should also be kept in mind by the Court that res judicata also applies to claims that
“could have been brought” in an earlier proceeding. Therefore, Defendant Roofers were

not free to raise any other issues at arbitration since they had the opportunity to take part

 

4U,S. v. Stauffer Chem. Co. 464 U.S. 165, 104 S.Ct. 575 (1984)
 

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 6 of 23

in 2015DCV3677 and could have raised their claims there. It is also clear that the arbitrator,
Defendant Guy Bluff, was bound by the earlier decision regarding the roof and was not
free to allow the relitigation of the suitability of the roof, or for that matter any other issue>.

19. It is further important to note that collateral estoppel will bind a party and those in privity
with him even if the parties are not actually named as adverse parties in the first action. So,
the mere fact that Defendant Roofers were not named parties to the suit cited as
2015DCV3677, they did participate in the suit and argued the action®.

20. Since all actions Plaintiff is raising were decided under Texas law, (Page 22 of the Original

Petition) Texas law is very clear “the doctrine of res judicata prevents relitigation ofa

claim or cause of action that has been finally adjudicated, as well as related matters that
with use of diligence, should have been litigated in the prior suit’.”

21. It should also be noted that in arbitration the primary issues raised by the Defendant roofers
were actually identical to the issues decided in 2015DCV3677, but the arbitrator,
Defendant Guy Bluff refused to even consider the issue of res judicata and collateral
estoppel as the “real attorneys” would not say things that were not true and they were all
ignoring the decision in 2015DCV3677, so Plaintiff, as just a pro se litigant had to be
wrong. Even when Plaintiff raised the issue of the forged contract submitted at arbitration
(Original Complaint Exhibit H), his submissions were ignored. This attitude on the part
of the Arbitrator, Defendant Guy Bluff was a clear violation of Plaintiffs right to due
process of law, equal protection of the law and meaningful participation in the proceedings

and violated Plaintiff's rights under the ADA and the ADAAA.

5 Bencor, Inc. v. Variable Annuity Life Ins. Co. No 01-09-00094-CV, 2011 WL 1330818 (Tex. App-Houston |1*
Dist.| April 7, 2011.

5 Benson v. Wanda Petroleum Co. 468 S.W.2d 361, 363 (Tex. 1971)

” Barr v. Resolution Trust Corp., 837 S.W.2d 627, 628 (Tex. 1992)

 
Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 7 of 23

22. When Plaintiff petitioned the AAA to replace Guy Bluff due to his attitude of favoring the
“real attorneys” the AAA refused, ignoring all the issues raised by Plaintiff.

23. It should also be noted that regarding the Defendants, State of Texas and City of El Paso,
Texas, and Judge Sergio Enriquez, in the face of the allegations made by Plaintiff, rather
than state fact amounting to a defense, each defendant had pled some type of immunity, a
defense that the U.S. Supreme Court has said does not apply to this type of suit as noted in
Tennessee v. Lane, 541 U.S. 509 (2004).

CONCLUSION

24. It should be noted that Plaintiff has alleged violations of both state law and local laws
which have not been denied or factually opposed by Defendants State of Texas or the
City of El Paso. Under the FRCP regarding this motion, by failing to state facts
sufficient to constitute a defense to the complaint, Plaintiff is entitled to the granting
of the Motion for Judgement on the Pleadings regarding these two Defendants.

25. As to Defendant, Judge Sergio Enriquez, rather than show facts that Plaintiff's allegations
are not true, this Defendant also pled immunity, which does not constitute facts showing a
defense as under Title II of the ADA and the ADAAA, it is not a fact that any of the
Defendants are entitled to immunity and as such Plaintiff is entitled to the granting of the
Motion for Judgment on the Pleadings against this Defendant

26. As to Defendant Roofers, (individually and as a company) they did not submit facts
constituting a Defense to Plaintiffs allegations contained on pages 25-30 of the Original

Complaint that they committed fraud, elder abuse, exploitation, abuse of process, invasion

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of privacy, breach of contract, forgery, conspiracy, extortion and bribery. In further support

of this Motion, Plaintiff does submit an inspection report that confirms the final decision

 
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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 8 of 23

of the County Court of Law #3 and the City of El Paso’s Department of Planning and
Inspection that the roof installed by Defendant Roofers was not installed correctly and thus
does not meet code. This inspector does inspections for a federal agency and thus his
opinions are well respected by the Courts. (Exhibit A) Therefore, under the FRCP, Plaintiff
is entitled to the entry of Judgment on the Pleadings.

27. As to Defendant, Guy Bluff, as noted above, he is alleged to have committed conspiracy,
violation of due process, Violation of Title II of the ADA and the ADAAA, Invasion of
Privacy, elder abuse, and had a conflict of interest. In his answer at no time did he allege
facts that would constitute a defense to these allegations. Therefore, under the FRCP,
Plaintiff is entitled to the entry of a Judgment on the Pleadings.

28. As to Defendant AAA, Plaintiff alleged that they violated Title II of the ADA and the
ADAAA, indulged in a conspiracy and committed fraud. In their answer, at no time did
they submit facts that would constitute a defense to these allegations. Therefore, Plaintiff
is entitled to the entry of a Judgment on the Pleadings as to this Defendant.

29. As to Defendant Evanston Insurance Company (hereinafter insurer), they held themselves
out as the liability insurance company for Defendant Roofers as required under the
Contractor Registration Requirements (Exhibit A of the Original Petition) of the City of
El Paso. Under Texas law, Plaintiff was a 3" party beneficiary to the contract between the
Defendant roofers and the insurer. When the final decision was rendered in 2015DCV3677
that the roof did not meet local code, Plaintiff asked that Defendant Insurer to honor its
obligations under the liability policy and make Plaintiff whole. To Date Defendant Insurer

has refused to honor its obligations and funded the 8 year long war waged by Defendant

roofers to unjustly enrich them at Plaintiff's expense. At no time has Defendant insurer

 
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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 9 of 23

presented any facts that would constitute a defense to this action, not even denying that
they had any liability. Therefore, Plaintiff is entitled to the entry of Judgement on the

Pleadings.

Therefore, since none of the Defendants have presented facts that would constitute a defense

to the Plaintiff's allegations, Plaintiff would ask that this Court enter a Judgement on the Pleadings.

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ROBERT K. HUDNALL
915-478-1114

Kenhudnall0@gmail.com

CERTIFICATE OF SERVICE
I, Robert K. Hudnall, do hereby certify that a true and correct copy of the above Motion
for Judgment on the Pleadings was served on each defendant through their attorneys via email on
this 18" day of February 2022. The served attorneys are:

Defendants State of Texas and Judge Sergio Enriquez
Scot M. Graydon

Scot.Graydon@oag.texas.gov

Defendants Guy Bluff and AAA
Raymond D. Martinez
raymond@martinezlawyers.com

Defendant Evanston Insurance Company
Stephen Melendi

stephenm@tbmmlaw.com

Defendant Alejandro C. Ramirez
James A. Martinez

martinez@jmeplaw.com

Defendant Tyrone Smith
James A. Martinez

martinez@jmeplaw.com

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 10 of 23

Defendant City of El Paso
Karla M. Nieman, City Attorney c/o Abbie Mullin Assistant City Attorney

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ROBERT K. HUDNALL —

 

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 11 of 23

Report Identification __
Timothy A. Sank, 915-346-9553, timsproinspection@sbcglobal.net
l=Inspected Nl=Not Inspected NP=Not Present D=Deficient

[1 NI NP OD eet
PROPERTY INSPECTION REPORT

Robert Hudnall __ 2114/22
Name of Client Date of Inspection

__297 Puesta Del Sol, El Paso TX 79912
Address of Inspected Property

 

 

 

TIMOTHY ALAN SANK 7144
Name of Inspector TREC License #
PURPOSE OF INSPECTION

A real estate inspection is a visual survey of a structure and a basic performance evaluation of the systems and
components of a building. It provides information regarding the general condition of a residence at the time the
inspection was conducted. It is important that you carefully read ALL of this information. Ask the inspector to clarify
any items or comments that are unclear.

RESPONSIBILITY OF THE INSPECTOR .
This inspection is governed by the Texas Real Estate Commission (TREC) Standards of Practice (SOPs), which

dictates the minim um requirements for a real estate inspection.

The inspector IS required to:

° use this Property Inspection Report form for the inspection;
e inspect only those components and conditions that are present, visible, and accessible at the time of the
inspection:
° indicate whether each item was inspected, not inspected, or not present:
° indicate an item as Deficient (D) if a condition exists that adversely and materially affects the performance of
a system
or component OR constitutes a hazard to life, limb or property as specified by the SOPs: and
e explain the inspector's findings in the corresponding section in the body of the report form.

The inspector IS NOT required to:

e identify all potential hazards:

° turn on decommissioned equipment, systems, utilities, or apply an open flame or light a pilot to operate any
appliance:

° climb over obstacles, move furnishings or stored items:

° prioritize or emphasize the importance of one deficiency over another:

e provide follow-up services to verify that proper repairs have been made: or

° inspect system or component listed under the optional section of the SOPs (22 TAC 535.233).

RESPONSIBILTY OF THE CLIENT

While items identified as Deficient (D) in an inspection report DO NOT obligate any party to make repairs or take
other actions. in the event that any further evaluations are needed, it is the responsibility of the client to obtain further
evaluations and/or cost estimates from qualified service professionals regarding any items reported as Deficient (D). It
is recommended that any further evaluations and/or cost estimates take place prior to the expiration of any contractual
time limitations, such as option periods.

Please Note: Evaluations performed by service professionals in response to items reported as Deficient (D) on the
report may lead to the discovery of additional deficiencies that were not present, visible, or accessible at the time of the
inspection. Any repairs made after the date of the inspection may render information contained in this report obsolete
or invalid.

REPORT LIMITATIONS
This report is provided for the benefit of the named client and is based on observations made by the named inspector on
the date the inspection was performed (indicated above).

ONLY those items specifically noted as being inspected on the report were inspected. EXHIBIT

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 12 of 23

Report Identification ___
Timothy A. Sank, 915-346-9553, timsproinspection@sbcglobal.net
l=Inspected NI=Not Inspected NP=Not Present _D=Deficient :

 

[1 NI _NP_D

 

This inspection IS NOT:

° a technically exhaustive inspection of the structure. its systems. or its components and may not reveal all

deficiencies:
° an inspection to verify compliance with any building codes:

° an inspection to verify compliance with manufacturer's installation instructions for any system or component

and
DOES NOT imply insurability or warrantability of the structure or its Components.

NOTICE CONCERNING HA ZARDOUS CONDITIONS, DEFICIENCIES, AND CONTRACTUA L
AGREEMENTS

 

Conditions may be present in your home that did not violate building codes or common practices in effect when
the home was constructed but are considered hazardous by today’s standards. Such conditions that were part of

the home prior to the adoption of any current codes prohibiting them may not be required to be updated to meet
current code requirements. However, if it can be reasonably determined that they are present at the time of the
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loss from these conditions is significant enough to r

inspectors to report them as Deficient (D). Examples of such hazardous conditions include:

   

° malfunctioning, improperly installed. or missing ground fault circuit protection (GFCI) devices and arc-fault
(AFCI) devices:
e ordinary glass in locations where modern construction techniques call for safety glass:

7 ° malfunctioning or lack of fire safety features such as smoke alarms, fire-rated doors in certain locations, and

qu functional
emergency escape and rescue openings in bedrooms:

malfunctioning carbon monoxide alarms:

excessive spacing between balusters on stairways and porches:

improperly installed appliances:

improperly installed or defective safety devices:

lack of electrical bonding and grounding: and

lack of bonding on gas piping. including corrugated stainless steel tubing (CSST).

Please Note: items identified as Deficient (D) in an inspection report DO NOT obligate any party to make repairs or
take other actions. The decision to correct a hazard or any deficiency identified in an inspection report is left up to the
parties to the contract for the sale or purchase of the home.

This property inspection report may include an inspection agreement (contract), addenda, and other information related
to property conditions.

| INFORMATION INCLUDED UNDER “ADDITIONAL INFORMATION PROVIDED BY INSPECTOR”, OR
PROVIDED AS AN ATTACHMENT WITH THE STANDARD FORM, IS NOT REQUIRED BY THE
COMMISSION AND MAY CONTAIN CONTRACTUAL TERMS BETWEEN THE INSPECTOR AND YOU, AS
THE CLIENT. THE COMMISSION DOES NOT REGULATE CONTRACTUAL TERMS BETWEEN PARTIES. IF
YOU DO NOT UNDERSTAND THE EFFECT OF ANY CONTRACTUAL TERM CONTAINED IN THIS
SECTION OR ANY ATTACHMENTS. CONSULT AN ATTORNEY.

 

ADDITIONAL INFORMATION PROVIDED BY INSPECTOR

Start Time of Inspection _9:00. , _x_AM, __PM, End Time _9:57 ,__X AM, __PM

 

Temp. __60. Weather ___ Cloudy, __x__ Clear, __ Raining, ___ Other

____ Un-Occupied at the time of Inspection, _x__ Occupied, (when home is occupied no furniture is moved, some areas
cannot be seen or inspected)

, Cash/Cash App. Yes, No,

 

Charge $_250.00. Payment Method: Check #__3323, 3324
Card , Paid_x___ Yes, No, Zelle PO#

No warranty, condition of the house on date of inspection. Claims limited to amount of inspection charge.
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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 13 of 23

Report Identification

Timothy A. Sank, 915-346-9553, timsproinspection@sbcglobal.net

l=Inspected NI=Not Inspected NP=Not Present _D=Deficient
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Il. STRUCTURAL SYSTEMS
) Q QO  A.Foundations

Type of Foundation(s): __ Slab-on-grade, ___ Pier and Beam,
___ Monolithic Slab, __ Other
Comments: Functioning as intended.

Craw space accessible? __ Yes,___—No,__ N/A
Method used to inspect craw space:

Q Q) O  B.Grading & Drainage
Comments:

ee 2 Gy C. Roof Covering Materials
Types of Roof Covering: __ 3-Tab/__ 20 yearor___ 30 year,__—s«90#
Rolled, ___ Wood/Cedar,__Tile,__ Slate,__—sMetal,__-—s T-Loc, |

Built-Up,

____ Other___(Plastic Roof Covering)

Viewed From: _x__on Roof, _ Ground, __ Other

Comments: 1. Damage and/or gaps around the edge flashing on the

 

walls is allowing water into the wall system.

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 14 of 23

Report Identification

Timothy A. Sank, 915-346-9553, timsproinspection@sbcglobal.net

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2. Old roofing was not removed before new roofing material was
installed

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 15 of 23

Report Identification
Timothy A. Sank, 915-346-9553, timsproinspection@sbcglobal.net
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[1 NI NPD ]

3. Standard roofing instillation was not followed:
A. Roofing material should be installed starting at the low
a end of the roof. Then, each additional layer is installed
higher on the roof and will then drain on to the lower
material.
B. The roofing material should run accost the
(perpendicular) to the roof slope.

Both of these standard was not used, the roofing material
was started at the high end and layered down the slope so
that water could run under the lower layer. Also, on some
of the slopes the material was installed parallel to the slope
of the roof, allowing water under the edges to seep into the

 

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 16 of 23

Report Identification ___
Timothy A. Sank, 915-346-9553, timsproinspection@sbcglobal.net
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3. Vent pipes and Air vents were covered over, trapping moisture in the
house.

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 17 of 23

Report Identification

Timothy A. Sank, 915-346-9553, timsproinspection@sbcglobal.net
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Evidence of Previous Repairs_x__ Yes,__ No,__ N/A

Q O) () Dz. Roof Structure and Attic

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Viewed From: ____ On Roof, ____ Inside Attic, __ No attic available
Approximate Average Depth of Insulation:____ inches.
Approximate Average Thickness of Vertical Insulation: inches,
__ NA

Comments:

Proper Ventilation of roof and attic___~Yes,__— No

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Case 3:22-cv-00036-KC Documenti16 Filed 02/18/22

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Q) ) QE. Walls (Interior and Exterior)
Comments:

Q) QO) OF. Ceilings and Floors
Comments:

Q 1 ©) G. Doors (Interior and Exterior)
Comments:

Q (9 QO H.Windows

Page 18 of 23

Comments:
Missing or Damaged Screens__ Yes, ___ No
Functional Emergency Openings in Bedrooms ____ Yes, ___ No

Q) C) (I. Stairways (Interior and Exterior)
Comments:

Q) ) OU) J. Fireplace/Chimney
Comments:

Gas Log Only___ Yes,__ No,__ N/A

C) O) OU K.Porches, Balconies, Decks and Carports
Comments:

a Ci OC L. Other

Comments:

 

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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 19 of 23

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ll. ELECTRICAL SYSTEMS

Q () QO A. Service Entrance and Panels
Comments:

AFCl present: _ Yes, ___ No (Arc Fault Circuit Interrupter, used for fire
protection)
Service From: ____ Overhead, ___-—~; Underground
Visible wiring type: Service: ___ Copper,__ Aluminum
Feeders: ___ Copper, __ Aluminum
Appropriate connections? ___ Yes, __ No

) O) OQ B.Branch Circuits, Connected Devices and Fixtures
Type of Wiring: ___ Copper, ____ Aluminum, ___ Other
Comments:

GFCI Lacking in:___ Bathrooms, __ Kitchen, ___ Garage, ___
Outside,

Basement/Craw Space, Laundry/Utility, Wet Bar. (Ground
Fault Circuit Interrupter, for shock protection)

Smoke Alarms:
Working, __ Yes, No

Present in All Bedrooms, _. Yes; 2.No
Present outside Bedrooms,__—‘Yes, ___ No
Present on other floors, ~‘Yes,___—~No,__—s N/A

QO CL) ) C. Other

Comments:

 

9|
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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 20 of 23

Report Identification ___
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l=Inspected NI=Not Inspected NP=Not Present _D=Deficient

fr NINP_D =|

Ill. HEATING, VENTILATION AND AIR CONDITIONING SYSTEMS

Q () OU A. Heating Equipment
Type of System: ___ Forced air, ___ Wall Units, ___ Base board,
other
Energy Source: ___naturalgas,___ Electric, __ other
Comments:

____ There is rust inside the heat exchange, have unit checked by an
HVAC company for CO leaks.

____ The unit was not on at the time of inspection could not check
operation.

Q) QO) OB. Cooling Equipment:
Type of System: _____ Evaporative Cooler,
___ One Speed,_ Two Speeds
___ Copper, ____ Plastic (Water Line)
___ Refrigerated Air
_____ Other
Comments:

___ The unit was not on at the time of inspection could not check
operation.
___ Winterized

Q CJ) (OC. Duct System, Chases, and Vents
Comments:

QO QO D. Other

Comments:

 

10|
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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 21 of 23

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[1 Ni NPD

IV. PLUMBING SYSTEM

Q QO) OU A. Plumbing Supply, Distribution System and Fixtures
Location of water meter:____ Street, __ Front of House, ___ Back of

House,
___ Side of House,__ Allie, __ Other

Location of main water supply valve:__ Water Meter, ___ In House, __
Garage

Static water pressure reading: PSI
____ Less Than 40,___ Greater Than 80

Type of Supply piping material: ___ Copper,___ CPVC, ___ Plastic,
____ Other
Comments:

Q ) QO B.Drains, Wastes, Vents
Type of Drain piping Material: = PVC,___—s Copper, __— Metal, ___
Other
Comments:

Q) QO OQ C. Water Heating Equipment
Energy Source:___ NaturalGas,__§_ LP Gas, __ Electric, ___— Other
Capacity: 20,__—-30,__—-40,__—~«50,__ Other (Gallons)
Comments:

T & P Valve working___—~ Yes, ___ No (Temperature and Pressure Relief
Valve)
____ Gas shut off type (Watts 210)

Q) (1 OU) D.Hydro-Massage Therapy Equipment
Comments:

) C1 UW __ E. Gas Distribution Systems and Gas Appliances
Location of gas meter:__Front,__ Right side, __ Left side,
Back yard, _ Other eee
Type of gas distribution piping material: ___ Black Pipe, __ Flex/ CST,
___Other
Comments:

Q C) OU ~ F. Other

Comments:

 

II |
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Case 3:22-cv-00036-KC Document16 Filed 02/18/22 Page 22 of 23

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[1 NI NP _D ]
V. APPLIANCES

Q Q UA. Dishwashers
Comments:

Q) QO) OB. Food Waste Disposers
Comments:

QO Q) QU C.Range Hood and Exhaust Systems
Comments:

____ Built into Microwave Oven

Q ) OD. Ranges, Cooktops, and Ovens
____ Natural Gas,___—-LP Gas, __ Electric
____ Tip Protection _ Yes,___—sNo,__s N/A
350° testof Oven=___—, Pass___, Fail____
Comments:

a Ci (C) E. Microwave Oven
Comments:

Q) L) (©) F. Mechanical Exhaust Vents and Bathroom Heaters

Comments:
____ Fan present, Operating ~Yes,__—s(Noo
____ Heater present, Operating ~Yes,___—sNo

 

12]
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Case 3:22-cv-00036-KC Documenti16 Filed 02/18/22

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fr NI NP D

Q CL} (CJ) G. Garage Door Operator(s)
Comments:

____ Manual Operation OK

____ Power Operation OK
____ Auto Reverse OK

Q) C) OQ) H. Dryer Exhaust Systems

Page 23 of 23

 

Comments:

___ Through Wall, ___ Through Roof (Clean vent line out for safety)
Q QO) OQ) I. Other: Doorbell and Chimes

Comments:

QQ) UO U J. Other

 

Comments:

13|

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